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8

9                                 UNITED STATES DISTRICT COURT
10                                     DISTRICT OF NEVADA
11
     UNITED STATES OF AMERICA,                          Case No. 2:08-CR-288-PMP-RJJ
12
                     Plaintiff,                         [Proposed]
13    vs.                                               ORDER GRANTING
                                                        MOTION TO FILE DEFENDANT’S
14   LADON McCLELLAN,                                   PETITION FOR A WRIT OF CORAM
                                                        NOBIS UNDER SEAL
15                   Defendant.
                                                        (FILED UNDER SEAL)
16

17            Having come before the Court, it is ORDERED, ADJUDGED, and DECREED that
18   Defendant Ladon McClellan's MOTION TO FILE DEFENDANT’S PETITION FOR A WRIT OF
19                                                                          379
     CORAM NOBIS UNDER SEAL, including accompanying Exhibits A-E, [docket #_________] is
20   hereby GRANTED.
21

22                                               UNITED STATES DISTRICT JUDGE
23                                               DATED: August 14, 2012.
24

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27
28


     (FILED UNDER SEAL)                         1
